






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00389-CR






Jorge Castro, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT

NO. D-1-DC-07-301054, HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		A jury convicted Jorge Castro of the offense of aggravated sexual assault.  See
Tex.&nbsp;Penal Code Ann. § 22.021(West Supp. 2008).  Punishment was assessed at twenty years'
imprisonment.

		Appellant's court-appointed attorney has filed a motion to withdraw and a brief
concluding that the appeal is frivolous and without merit.  The brief meets the requirements of
Anders v. California, 386 U.S. 738 (1967), by presenting a professional evaluation of the record
demonstrating why there are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S.
75 (1988); High v. State, 573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684
(Tex. Crim. App. 1974); Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous
v.&nbsp;State, 436 S.W.2d 137 (Tex. Crim. App. 1969).  Appellant received a copy of counsel's brief and
was advised of his right to examine the appellate record and to file a pro se brief.  No pro se brief
has been filed.

		We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

		The judgment of conviction is affirmed.



						__________________________________________

						Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Affirmed

Filed:   February 26, 2009

Do Not Publish


